Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 1 of 7



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. 1: 18-CV-24931-GAYLES


  KATIUSKA VELEZ, individually, and as
  parent and guardian for BRANDON VELEZ,

         Plaintiff,
  v.

  CORAL GATE WEST CONDOMINIUM
  ASSOCIATION, INC.,

         Defendants.
                                               /

                                              ORDER

         THIS CAUSE comes before the Court upon Defendant’s Motion to Dismiss Plaintiff’s

  Complaint. [ECF No. 9]. The Court has reviewed the Motion, the record, and applicable law and

  is otherwise fully advised. For the reasons that follow, Defendant’s Motion is denied.

                                         BACKGROUND

         In this action, Katiuska Velez (“Plaintiff”), individually and as parent and guardian for

  Brandon Velez (“Brandon”), alleges that Coral Gate West Condominium Association, Inc.

  (“Defendant”) evicted her and her son because of his disability and failed to make reasonable

  accommodations for his disability in violation of the Fair Housing Act (“FHA”), 42 U.S.C. §

  3604(f).

  I.     Allegations in the Complaint

         On July 20, 2014, Plaintiff and Brandon moved into a rental apartment at Coral Gate West

  Condominium. [ECF No. 1 at ¶ 8]. Brandon is a 23-year-old man with an intellectual disability,

  autism, and bi-polar disorder and is therefore considered “handicapped” under 42 U.S.C. §
Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 2 of 7



  3602(h). Id. at ¶ 4. When Plaintiff first moved into the apartment, she asked for an accommodation

  in the form of a parking space for her mother who would come to watch Brandon while Plaintiff

  was at work. Id. at ¶ 9. Throughout their tenancy, Defendant’s property manager informed Plaintiff

  that Brandon was not allowed in the hallways or permitted to stand by the elevators because

  “people thought that Brandon looked weird and that he may scare people.” Id. at ¶ 16. Defendant’s

  property manager required that Plaintiff install locks in their apartment to prevent Brandon from

  wandering the halls. Id. at ¶ 10. Plaintiff complied and installed a padlock on the interior of the

  door. Id.

         Between July 2015 and July 2016, Brandon had three behavioral incidents because of his

  disability. [ECF No. 1 at ¶ 11]. In the first, Brandon was by the pool playing with a relative and

  detached a water fountain from the wall. Id. at ¶ 12. In the second, Brandon entered the unlocked

  apartment of another resident, mistaking this resident for a friend. Id. at ¶ 13. In the third, while

  he was off of his medications, Brandon punched a window in the laundry room. Id. at ¶ 14. Despite

  these incidences, Defendant renewed her lease in July 2016. Id. at ¶ 15.

         On December 19, 2016, a security camera recorded Brandon locking himself in the public

  laundry room and masturbating in front of a washing machine. Id. at ¶ 17. The following day,

  Defendant issued a formal notice to vacate the unit. Plaintiff pleaded that she and Brandon were

  good tenants and explained how difficult it would be for her and Brandon to relocate in such little

  time. [ECF No. 1 at ¶ 25].

         On December 28, 2016, Brandon’s disability support coordinator with the Florida Agency

  for Persons with Disabilities, Sujay Rodriguez (“Mr. Rodriguez”), went to Coral Gate as a

  representative of both Brandon and the Florida Department of Children and Families (“DCF”) to

  request a reasonable accommodation due to Brandon’s disabilities. Id. at ¶ 31. Mr. Rodriguez




                                                   2
Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 3 of 7



  informed Defendant’s property manager that they were working on getting Brandon therapy to

  correct his behavior. Id. In response, Defendant’s property manager denied that Brandon’s

  behavior in the laundry room had anything to do with his disabilities and stated that she was

  “scared he would rape or molest someone in the complex.” Id.

         On December 30, 2016, ten days after the incident in the laundry room, Defendant issued

  a formal notice evicting Plaintiff and Brandon because Brandon “took apart a piece of one of the

  washing machines . . . and practiced inappropriate behavior while in the laundry room.” Id. at ¶

  33. Plaintiff alleges that she was forced to move into a more expensive apartment and ultimately

  had to place Brandon in a group home.

  II.    Procedural Background

         On November 27, 2018, Plaintiff filed a Complaint (“the Complaint”) against Defendant

  setting forth claims under the FHA for (1) Disparate Treatment—Denying or Making a Dwelling

  Unavailable in Violation of 42 U.S.C. § 3604(f)(1) and (2) Failure to Reasonably Accommodate

  in Violation of 42 U.S.C. § 3604(f)(3). [ECF No. 1]. Defendant has moved to dismiss, arguing

  that Plaintiff fails to state a claim because there was no discriminatory animus involved in the

  decision to evict Plaintiff and because Brandon’s behavior was a direct threat to other residents.

  [ECF No.9 at ¶ 4].

                                             ANALYSIS

  I.     Standard of Review

          “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

  U.S. 662, 678, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550

  U.S. 544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). Pleadings must contain “more than




                                                   3
Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 4 of 7



  labels and conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

  Twombly, 550 U.S. at 555 (citation omitted).

         Indeed, “only a complaint that states a plausible claim for relief survives a motion to

  dismiss.” Iqbal, 556 U.S. at 679 (citing Twombly, 550 U.S. at 556). To meet this “plausibility

  standard,” a plaintiff must “plead[ ] factual content that allows the court to draw the reasonable

  inference that the defendant is liable for the misconduct alleged.” Id. at 678 (alteration added)

  (citing Twombly, 550 U.S. at 556). When reviewing a motion to dismiss, a court must construe

  the complaint in the light most favorable to the plaintiff and take the factual allegations therein as

  true. See Brooks v. Blue Cross & Blue Shield of Fla. Inc., 116 F.3d 1364, 1369 (11th Cir. 1997).

  II.    Fair Housing Act

         Plaintiff’s Complaint alleges violations of the FHA which bars, among other things,

  housing discrimination based on one’s disability or affiliation with one who has a disability. See

  42 U.S.C. § 3604(f). Section 1 of the FHA makes it unlawful to discriminate in the sale or rental

  of a dwelling because of a handicap. See 42 U.S.C. § 3604(f)(1). Section 3 makes it unlawful to

  refuse “to make reasonable accommodations in rules, policies, or practices, or services, when such

  accommodations may be necessary to afford such person equal opportunity to use and enjoy a

  dwelling.” § 3604(f)(3)(B). Here, Plaintiff claims Defendant violated §§ 3604(f)(1) by evicting

  her and Brandon because of his disability and § 3604(f)(3)(B) by failing to make reasonable

  accommodations for Brandon’s disability.

         A. Disparate Treatment

         To state a claim under § 3604(f)(1), a plaintiff need only “allege that an adverse action was

  taken because of a disability and state the facts on which the plaintiff relies to support that claim.”

  Hunt v. Amico Properties, 814 F.3d 1213, 1222 (11th Cir. 2016); see also Powell v. Morgan




                                                    4
Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 5 of 7



  Property Solutions, Inc., No. 6:18-cv-624-Orl-41KRS, 2018 WL 5018032, at *5 (M.D. Fla. Aug.

  27, 2018) (holding that plaintiff need only allege facts from which the Court can plausibly infer

  that the defendant denied her rental application because she was associated with a disabled person).

  Plaintiff alleges that Defendant evicted her because of Brandon’s disability. To show Defendant’s

  discriminatory animus, Plaintiff refers to the incident on December 19, 2016, the property

  manager’s negative comments about Brandon’s disability, and actions taken by Defendant’s

  property manager—including asking Plaintiff to install locks on the interior of the apartment. See

  [ECF No.1 at ¶¶ 10, 16, 20]. Based on these allegations, the Court finds that the Complaint

  sufficiently alleges that Defendant evicted Plaintiff because of Brandon’s disability.

         B. Reasonable Accommodation

         To state a reasonable accommodation claim under § 3604(f)(3), a plaintiff must request an

  accommodation and be refused that accommodation. Schwarz v. City of Treasure Island, 544 F.3d

  1201, 1219 (11th Cir. 2008). Whether a reasonable request was made does not rest on “formalisms

  about the manner of the request,” but whether a defendant can be said to know of both the disability

  and the desire for an accommodation. Hunt, 814 F.3d at 1226 (citing Taylor v. Phoenixville Sch.

  Dist.,184 F.3d 296, 313 (3d Cir.1999)).

         The Complaint alleges that Mr. Rodriguez, as a representative of both Brandon and DCF,

  requested that Defendant’s property manager allow Brandon to work with his therapist in order to

  correct the behaviors that contributed to the incident on December 19, 2016. [ECF No. 1 at ¶ 31].

  The Complaint also alleges that the property manager knew of Brandon’s disability and that the

  requested accommodation would have been instrumental to Plaintiff being able to stay in the

  dwelling. As a result, the Court finds that Plaintiff has sufficiently pled a reasonable

  accommodation claim under the FHA. See U.S. v. Hialeah Housing Authority, 418 F. App’x 872,




                                                   5
Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 6 of 7



  876 (11th Cir. 2011) (holding that Defendant “must have enough information to know of both the

  disability and desire for an accommodation”) (citing Colwell v. Rite Aid Corp., 602 F.3d 495, 506

  (3d Cir. 2010)).

   III.   Direct Threat Exception

          The FHA carves out an exception for those who pose a “direct threat to the health or safety”

  of others. See 42 U.S.C. § 3604(f)(9). The statute provides: “[n]othing in this subsection requires

  that a dwelling be made available to an individual whose tenancy would constitute a direct threat

  to the health or safety of other individuals or whose tenancy would result in substantial physical

  damage to the property of others.” Id.

          The “direct threat” exception is an affirmative defense for circumstances in which it may

  be legitimate to protect other residents. Hunt, 814 F.3d at 1225. In Hunt, the Eleventh Circuit noted

  that “the direct threat exception described in section 3604(f)(9) is an affirmative defense and thus

  does not aid [the defendant] at the motion to dismiss stage.” Id. See also Friedel v. Park Place

  Cmty. LLC, No. 2:17-CV-14056, 2017 WL 3666440, at *3 (S.D. Fla. Aug. 24, 2017) (denying

  motion for summary judgment because determination of “a direct threat” to other residents is a

  question for a jury).

          Defendant argues that the direct threat exception appears on the face of the Complaint, and

  that, therefore, both counts can be dismissed at this stage of the litigation. [ECF No. 9 at 4]. In

  support, Defendant cites to Bingham v. Thomas, 654 F.3d 1171, 1175 (11th Cir. 2011), which held

  “[a] complaint may be dismissed if an affirmative defense, such as failure to exhaust, appears on

  the face of the complaint.” Bingham, 654 F.3d at 1175. Bingham, however, is inapposite as it dealt

  with exhaustion of administrative remedies prior to bringing a claim under the Prison Litigation




                                                   6
Case 1:18-cv-24931-DPG Document 18 Entered on FLSD Docket 06/21/2019 Page 7 of 7



  Reform Act. Therefore, at this stage of the litigation, the Court cannot determine whether Brandon

  was a “direct threat” to other residents, and the Motion to Dismiss must be denied.

                                          CONCLUSION

         Based on the foregoing, it is hereby

         ORDERED AND ADJUDGED that Defendant’s Motion to Dismiss [ECF NO. 9] is

  DENIED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 21st day of June, 2019.




                                                ________________________________
                                                DARRIN P. GAYLES
                                                UNITED STATES DISTRICT JUDGE




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